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           Exhibit 3
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                              Dominion’s Proposed Custodians
       Listed below are Dominion’s proposed custodians for each case, separated by defendant.
Dominion reserves its right to seek documents from non-custodial sources, including any
central document repositories, for all requests. Dominion also reserves its right to add additional
search terms and custodians as discovery develops.

                        US Dominion, Inc., et al v. MyPillow, Inc., et al

       Michael Lindell
    1. Michael Lindell

       MyPillow
   1. Dawn Curtis-Dollerschell
   2. Kim Rasmessen
   3. Shannon Smith
   4. Nick Dressen
   5. Todd Carter
   6. Katelyn Gamlin
   7. Michael Lindell
   8. Darren Lindell
   9. Jessica Maskovich
   10. Heidi O’Donnell
   11. Brad Carlson
   12. James Furlong
   13. Michael Thomas
   14. Joe Schmieg
   15. Rob Way
   16. Jazmin Kampen
   17. Bobbi Anderson
   18. Dawn Garry
   19. Heather Lueth
   20. Jerry Johnson
   21. Sarah Cronin
   22. Thomas Clapp
   23. Jennifer Duneman
   24. Andy Wincel
   25. Doug Wardlow
   26. Mark Schabert
   27. Wayne Belisle
   28. Bob Roepke
   29. Ron Falenschek
   30. Charlie Kovacs
   31. Mark Jones
   32. Richard Swanson
   33. David Boyd
   34. Brian Schmieg

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                         US Dominion, Inc. et al v. Powell, et al

Sidney Powell
   1. Sidney Powell

Sidney Powell, P.C.
   1. Sidney Powell
   2. Julia Haller
   3. Brandon Johnson
   4. Emily Newman
   5. Tricia Dale

Defending the Republic, Inc.
   1. Sidney Powell
   2. Michael Abidin
   3. Neal Coker
   4. Victor Sperandeo
   5. Mary Pat Coughlin
   6. Mary Bridget Kateri
   7. Gene Bigelman
   8. Brannon Castleberry
   9. Lin Wood
   10. Brandon Johnson
   11. Michael Flynn, Jr.
   12. Gen. Michael Flynn
   13. Joseph Flynn
   14. Julia Haller
   15. Emily Newman
   16. Patrick Byrne
   17. Abby Jones
   18. Catherine Granito
   19. May O’Neill


                           US Dominion, Inc. et al v. Giuliani
  1. Rudolph Giuliani
  2. Christiane Allen
  3. Christina Bobb


                               US Dominion, Inc. et al v. Byrne
  1. Patrick Byrne


                          US Dominion, Inc. et al v. OAN et al.

 1. Agagas, Jennesh

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    2. Aksalic, Elma
    3. Althaus, Shane
    4. Ball, Dan
    5. Betts, Keith
    6. Blashinsky, Derek
    7. Bobb, Christina
    8. Britton, Alyssia
    9. Brown, Justin Adam
    10. Cohen, Dana
    11. Dinow, Mike
    12. Drew, Peyton
    13. Fifield, Lilia
    14. Finn, Emily
    15. Gadow, Brandon
    16. Golingan, Marty
    17. Hamill, Stephanie
    18. Harp, Natalie
    19. Herring, Bobby
    20. Herring, Charles
    21. Herring, Robert
    22. Hines, John
    23. Hussion, Patrick
    24. Kinsey, Camryn
    25. Midkiff, Caroline
    26. Myers, Stephanie
    27. Oakley, Lindsay
    28. Posobiec, Jack
    29. Rouz, Kristian
    30. Scott, Taylor
    31. Sharp, Pearson
    32. Shippen, Olivia
    33. Rion, Chanel
    34. Unutona, Sani
    35. Wolk, Jezzamine

Christina Bobb
   1. Christina Bobb




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                    Defendants’ Proposed Custodians for Non-OAN Defendants
       Listed below are the Defendants’ proposed custodians for Dominion in each case. Each
Defendant reserves the right to seek documents from non-custodial sources, including any central
document repositories, for all requests. Each Defendant also reserves the right to add search terms
and custodians as discovery develops. Dominion has separately negotiated custodians with OAN,
and the below list does not apply to OAN.

Dominion
    1. Aamer Chaudhry
    2. Amir Ebrahimi
    3. Andy Banks
    4. Aslam Hirani
    5. Barry Herron
    6. Ben Humphreys
    7. Cathi Smothers
    8. Christina Reich
    9. Chuck Hogancamp
    10. Dallas Newby
    11. Daniel Mallatt
    12. Darren Silverburg
    13. David Moreno
    14. Diedre Lazenby
    15. Eric Coomer
    16. Ethan Tyree
    17. Giovanni Costantiello
    18. Goran Obradovic
    19. Howard Cramer
    20. Ian MacVicar
    21. Ian Piper
    22. Ivan Vukovic (Vucovic)
    23. Jason Frank
    24. Jeremy Holck
    25. Jerry Wagoner
    26. Jessica Bowers
    27. John Hastings
    28. John Poulos
    29. Juan Serratti
    30. Kay Stimson
    31. Logan Dingwall
    32. Mark Beckstrand
    33. Matthew Horace
    34. Megan Berg
    35. Melissa Romero
    36. Michael McGee
    37. Mike Frontera
    38. Nebojsa Cirovic
    39. Nick Coudsy
    40. Nick Ikonomakis
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      41. Nicole Nollette
      42. Paul Chavez-Casanova
      43. Paul Schmitt
      44. Phil Schmidt
      45. Ron Rosania
      46. Ronald Morales
      47. Scott Tucker
      48. Sean Bodwell
      49. Sheannse Smith
      50. Sheree Noell
      51. Srdjan Markovic
      52. Steven Bennett
      53. Surendar Gupta
      54. Tami Koch
      55. Thanh Hoang
      56. Thomas Feehan, Jr.
      57. Tim Baumbach
      58. Waldeep Singh
      59. Xavier Khouri
      60. Yash Dave
      61. Yvonne Cai


                             Dominion Custodians for OAN Defendants
Dominion has agreed to the following custodians in the OAN case. OAN has requested additional
custodians. Dominion does not believe any additional custodians are warranted at this time. OAN
reserves its right to seek additional custodians.

1.       Banks, Andy
2.       Baumbach, Tim
3.       Beckstrand, Mark
4.       Bennett, Steven
5.       Berg, Megan
6.       Bodwell, Sean
7.       Bowers, Jessica
8.       Chaudhry, Aamer
9.       Chavez-Casanova, Paul
10.      Constantiello, Gio
11.      Coomer, Eric
12.      Cramer, Howard
13.      Dave, Yash
14.      Dingwall, Logan
15.      Feehan, Jr., Thomas
16.      Frontera, Mike
17.      Hastings, John
18.      Herron, Barry
19.      Holck, Jeremy
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 20.     Holmes, Cheryl
 21.     Ben Humphreys
 22.     Ikonomakis, Nick
 23.     Khouri, Zavier
 24.     Koch, Tami
 25.     Mallatt, Daniel
 26.     McGee, Michael
 27.     MacVicar, Ian
 28.     Morales, Ronald
 29.     Moreno, David
 30.     Newby, Dallas
 31.     Noell, Sheree
 32.     Nollette, Nicole
 33.     Obradovic, Goran
 34.     Papoulias, Steve
 35.     Piper, Ian
 36.     Poulos, John
 37.     Reich, Christina
 38.     Rosania, Ron
 39.     Singh, Waldeep
 40.     Stimson, Kay
 41.     Vukovic, Ivan (Vucovic)
 42.     Wagoner, Jerry
 43.     security@dominionvoting.com




IT IS SO ORDERED.

DATE: September 16, 2024                       _____________________________
                                               HON. MOXILA A. UPADHYAYA
                                               United States Magistrate Judge




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